
98 N.Y.2d 752 (2002)
In the Matter of TERENCE BODDIE, Appellant,
v.
NEW YORK STATE DIVISION OF PAROLE et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 30, 2002.
Decided October 17, 2002.
Appeal, insofar as taken from the Appellate Division order denying appellant's motion for reargument, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
